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                    BEFORE THE UNITED STATES JUDICIAL PANEL
                                       on
                           MULTIDISTRICT LITIGATION

In re: Cook Medical, Inc., IVC Filters Marketing,                                     MDL-2570
Sales Practices and Products Liability Litigation


July 25, 2022

VIA CM/ECF

John W. Nichols, Clerk of the Panel
United States Judicial Panel on Multidistrict Litigation
Thurgood Marshall Federal Judiciary Building
One Columbus Circle, NE
Room G-255, North Lobby
Washington, DC 20002-8004

Re:    Cook Medical, Inc., IVC Filters Marketing, Sales Practices and Products Liability
       Litigation MDL Docket No. 2570

Dear Mr. Nichols:

I am counsel for the defendants, Cook Incorporated and Cook Medical LLC. Pursuant to JPML
Rule 7.1(a), I write to notify you of two potential tag-along actions in which these Cook entities
are named as defendants. The actions are listed on the enclosed schedule. Not all Cook entities
have been served in the listed matters, and by this notice Cook does not waive service in the
matters. Additionally, the docket sheets and complaints for these actions are enclosed.
Please do not hesitate to contact me if you have any questions.
Sincerely,

s/ Jessica Benson Cox
Jessica Benson Cox (# 26259-49)
FAEGRE DRINKER BIDDLE & REATH LLP
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Indianapolis, Indiana 46204
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 Enclosures
cc:    Enclosed Service List
